                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                     MINUTE SHEET

UNITED STATES OF AMERICA                             Date:       January 26, 2021

vs.                                                  Case No.: 20-03041-05-CR-S-MDH

APRIL D. WHITE


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Initial Appearance – Indictment

Time Commenced: 12:59 p.m.                                    Time Terminated: 1:02 p.m.


                                     APPEARANCES

Plaintiff:    Megan Chalifoux, AUSA
USPPTS:       Tracy Cowin


Proceedings: Parties appear as indicated above. Defendant appears in person.

              Because Defendant has been arrested, Government orally requests to unseal
              the indictment. Court grants oral request and orders that indictment/case be
              unsealed and processed in accordance with established procedure and law.

              Defendant advised of rights and counsel will be appointed by subsequent
              order.

              Government orally moves for detention.

              Arraignment, Detention Hearing and Scheduling Conference set for
              1/29/2021 at 10:00 a.m.

             Defendant in custody.


Courtroom Deputy/ERO: Karla Berziel




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